                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )          No.     2:19-cr-00013
       v.                                        )
                                                 )          Chief Judge Crenshaw
                                                 )
GEORGIANNA A.M. GIAMPIETRO                       )

    GOVERNMENT’S NOTICE REGARDING ADDITIONAL RECORDINGS AND
            TRANSCRIPTS OF THE JUNE 25, 2018, MEETING

       The United States of America, through Mary Jane Stewart, Acting United States Attorney

for the Middle District of Tennessee, by and through Assistant United States Attorneys Kathryn

Risinger and Philip Wehby, and the Chief of the Counterterrorism Section of the National Security

Division, United States Department of Justice, by and through Trial Attorney Jennifer E. Levy,

hereby files this Notice Regarding Additional Recordings and Transcripts of the June 25, 2018,

Meeting. In support thereof, the Government states the following:

       1.      During the investigation in this case, a meeting occurred between the defendant

Georgianna Giampietro and FBI Undercover Employee 1 (“UCE 1”) in a hotel room in Cookeville,

Tennessee, on June 25, 2018. During that meeting, two additional individuals joined for a short

period of time. Those individuals are identified as FBI Undercover Employee 2 (“UCE 2”) and

“the Sheikh.” This meeting was audio and video recorded in three different manners: one

video/audio recording and two audio only recordings.

       2.      Specifically, there is one video/audio recording (“Video/Audio Recording 1”) of

the meeting that spans the length of time that the defendant and UCE 1 were present in the hotel

room. Video/Audio Recording 1 was previously disclosed to defense counsel during discovery in

this case. However, due to the sensitivity of the recording, it was disclosed with modulated voices




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and pixilated faces. 1 A rough transcript of Video/Audio Recording 1 was also provided to defense

counsel during discovery. Recently, on Wednesday, September 29, 2021, an updated transcript

that was reviewed and corrected by UCE 1 was emailed to defense counsel; and today, Friday,

October 1, 2021, a second corrected transcript (adjusting for formatting and correcting for certain

speaker voices) was emailed to defense counsel.

         3.       Because devices sometimes malfunction, the FBI had a back-up audio only

recording device (“Audio Recording 2”) in the hotel room during the June 25, 2018, meeting.

Audio Recording 2 spans the length of time that the defendant and UCE 1 were present in the hotel

room during that meeting. While this particular back-up recording was not previously disclosed to

defense counsel, Audio Recording 2 is substantively duplicative of Video/Audio Recording 1,

referenced above in paragraph 1. Moreover, early on during the prosecution of this case, the FBI

allowed defense counsel and the defendant to listen to Audio Recording 2 while at the courthouse

in Nashville, Tennessee, so that they could listen to the meeting without the parties’ voices being

modulated. A copy of Audio Recording 1 was sent overnight FedEx to defense counsel today,

October 1, 2021, and is scheduled to arrive at defense counsel’s office on Monday, October 4,

2021.

         4.       Additionally, out of an abundance of caution, the FBI utilized a third recording

device, audio only (“Audio Recording 3”), during the meeting that occurred on June 25, 2018.

Audio Recording 3 was brought into the hotel room by UCE 2 when he and “the Sheikh” met with

the defendant and UCE 1. Therefore, this audio recording is shorter than either of the recordings




1
 Prior to the previously scheduled trial date of September 20, 2021, the parties agreed that they will not introduce into
evidence video clips of the June 25, 2018, meeting. Instead, the parties agreed that only audio clips of this meeting
will be introduced at trial. As a result, on or about September 2, 2021, the Government provided defense counsel with
a disc containing an audio only recording of the June 25, 2018, meeting without voice modulation for use at trial.
(That disc also contained unmodulated audio recordings of the November 28, 2017, meeting; the February 22, 2018,
meeting; and the March 17 and 18, 2018, meetings.) Per a protective order entered in this case, defense counsel will
return that disc and any additional copies to the Government at the end of the case.
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referenced above in paragraphs 1 and 2. While this particular back-up recording was not previously

disclosed to defense counsel, it is substantially duplicative of Video/Audio Recording 1 and Audio

Recording 2 for the time period Audio Recording 3 was in the hotel room. A copy of Audio

Recording 3 was sent overnight FedEx to defense counsel today, October 1, 2021, and is scheduled

to arrive at defense counsel’s office on Monday, October 4, 2021.

       5.      Additionally, copies of all three transcripts: Video/Audio Recording 1 transcript;

Audio Recording 2 transcript; and Audio Recording 3 transcript were emailed to defense counsel

today, Friday, October 1, 2021.

       6.      Audio Recording 2 and Audio Recording 3 are covered by the previously agreed to

protective order (D.E. 251) and must be returned to the Government at the conclusion of this case.

                                        CONCLUSION

       The Government hereby requests the Court take notice of the foregoing information in

preparation for the hearing involving “the Sheikh” currently scheduled for October 6, 2021, at 9:00

a.m.

                                                     Respectfully Submitted,

                                                     MARY JANE STEWART
                                                     Acting United States Attorney
                                                     Middle District of Tennessee

                                               By: /s/ Kathryn Risinger
                                                   KATHRYN RISINGER
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                                                    /s/ Jennifer E. Levy
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                                                    (202) 514-1092


                               CERTIFICATE OF SERVICE

       I hereby certify that on October 1, 2021, I electronically filed one copy of the foregoing
document with the Clerk of the Court by using the CM/ECF system, which will send a Notice of
Electronic Filing to counsel for defendant in this case.

                                                    /s/ Kathryn D. Risinger
                                                    KATHRYN D. RISINGER
                                                    Assistant United States Attorney




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